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                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                    )
                                                             )                8:13CR106
                          Plaintiff,                         )
                                                             )
        vs.                                                  )                 ORDER
                                                             )
RUSSELL GLENN PIERCE,                                        )
                                                             )
                          Defendant.                         )


        This matter is before the court on the motion for an extension of time by defendant Russell Glenn Pierce
(Pierce) (Filing No. 138). Pierce seeks an extension of time in which to file pretrial motions in accordance with
the progression order. Pierce's counsel represents that government's counsel has no objection to the motion
as long as the extension relates only to motions regarding the computer forensic expert. Upon consideration,
the motion will be granted as long as the motions relate to the computer forensic expert.


        IT IS ORDERED:

        Defendant Pierce's motion for an extension of time (Filing No. 138) is granted. Pierce is given until on

or before March 7, 2014, in which to file pretrial motions pursuant to the progression order. The ends of justice
have been served by granting such motion and outweigh the interests of the public and the defendant in a
speedy trial. The additional time arising as a result of the granting of the motion, i.e., the time between

December 26, 2013, and March 7, 2014, shall be deemed excludable time in any computation of time under
the requirement of the Speedy Trial Act for the reason defendant's counsel requires additional time to adequately
prepare the case, taking into consideration due diligence of counsel, and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).


        DATED this 26th day of December, 2013.
                                                             BY THE COURT:
                                                             s/ Thomas D. Thalken
                                                             United States Magistrate Judge
